     Case 2:17-cv-00871-AB-SS Document 153 Filed 10/26/18 Page 1 of 2 Page ID #:1519




1
      Seth W. Wiener (California State Bar No. 203747)
      LAW OFFICES OF SETH W. WIENER
2     609 Karina Court
3     San Ramon, CA 94582
      Telephone: (925) 487-5607
4     Email: seth@sethwienerlaw.com
5
      Attorneys for Plaintiffs
6     Thunder Studios, Inc. and Rodric David
7
                                  UNITED STATES DISTRICT COURT
8
9                               CENTRAL DISTRICT OF CALIFORNIA

10    THUNDER STUDIOS, INC.;                           CASE NO.: 2:17-cv-00871 AB (SSx)
11    RODRIC DAVID,
                                                       NOTICE OF LODGING OF FINAL
12                     Plaintiffs,                     PRETRIAL CONFERENCE ORDER
13           v.
                                                       TRIAL:
14                                                     Date: December 4, 2018
                                                       Time: 8:30 a.m.
15    CHARIF KAZAL; TONY KAZAL;                        Judge: Hon. Andre Birotte, Jr.
      ADAM KAZAL; AND DOES 1 TO                        Ctrm.: 7B
16
      100, INCLUSIVE,
17
                      Defendants.
18
19    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
20           Attached hereto is the parties’ proposed Final Pretrial Conference Order which is
21    being lodged with the Court.
22
23    Dated: October 26, 2018                    LAW OFFICES OF SETH W. WIENER
24
25
                                                 By: _____________________________
26                                               Seth W. Wiener
27                                               Attorney for Plaintiffs
                                                 THUNDER STUDIOS, INC. and
28
                                        -1-
      _____________________________________________________________________
      Notice of Lodging of Final Pretrial Conference Order
     Case 2:17-cv-00871-AB-SS Document 153 Filed 10/26/18 Page 2 of 2 Page ID #:1520




1
                                                 RODRIC DAVID

2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                        -2-
      _____________________________________________________________________
      Notice of Lodging of Final Pretrial Conference Order
